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     Your Name:               Natalia Howell

 2   Address:                1720 Crater Peak Way, Antioch, CA 94531
 3   Phone Number:           747-291-9081

 4   Fax Number:

 5   E-mail Address:

 6   Pro Se Plaintiff

 7

 8                                         UNITED STATES DISTRICT COURT

 9                                        NORTHERN DISTRICT OF CALIFORNIA.
lU

11      Natalia Howell
                                                         CV 20^0123
                                                         Case Number   [leave blank]
12
                                                          COMPLAINT
13                           Plaintiff,

14           vs.


15      Garden of Eden
                                                         DEMAND FOR JURY TRIAL
16     STRM LLC

17
                                                          Yes   NoQ
18

19                           Defendant.

20

21                                                   PARTIES
        1. Plaintiff. [Write your name, address, and phone number. Add a pagefor additional
22
             plaintiffs.']
23   Name:                   Natalia Howell

24   Address:            1720 Crater Peak Way, Antioch, CA 94531
25   Telephone:
26

27

28


     COMPLAINT ,5
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